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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 PETE’S TOWING CO., a Florida
 corporation,

       Plaintiff,

 v.                                                 Case No.

 CITY OF TAMPA, FLORIDA, a
 municipal corporation, CITY OF TAMPA
 POLICE CHIEF STEPHEN HOGUE,
 SERGEANTS MICHAEL KITT and
 JOSE PENICHET and
 OFFICERS JOHNNY L. ADKINS,
 ORLANDO L. GUDES, PATRICIA LASTRA,
 DARYL JOHNSON, JOHN RICCARDO
 and OTHER OFFICERS PRESENTLY
 UNKNOWN, and ASSISTANT CITY
 ATTORNEY LAURIE WOODHAM,

       Defendants.
 ______________________________________/

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       The Plaintiff, PETE’S TOWING CO., sues the Defendants, CITY OF TAMPA,

 FLORIDA; CITY OF TAMPA POLICE CHIEF STEPHEN HOGUE; SERGEANTS

 MICHAEL KITT and JOSE PENICHET; and OFFICERS JOHNNY L. ADKINS,

 ORLANDO       L.    GUDES,   PATRICIA       LASTRA,      DARYL      JOHNSON,    JOHN

 RICCARDO and OTHER OFFICERS PRESENTLY UNKNOWN, and ASSISTANT

 CITY ATTORNEY LAURIE WOODHAM, and alleges as follows:

                                  A. JURISDICTION

       1. The Plaintiff invokes the Court’s jurisdiction under 28 U.S.C. § 1331, as this

           case arises under the Constitution and laws of the United States.
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       2. The events giving rise to this action occurred in Tampa, Florida.

                                      B. VENUE

       3. Plaintiff is a Florida corporation organized for purposes of engaging in the

          lawful business of consensual and non-consensual towing of motor vehicles in

          the Tampa, Florida, area. Plaintiff is a “person” within the meaning of 42

          U.S.C. § 1983.

                                     C. PARTIES

       4. Defendant City of Tampa, Florida, is a municipality and a “person” within the

          meaning of 42 U.S.C. § 1983 and is a legal entity suable in its own name

          under Florida law.

       5. Defendant Hogue is, and was at all material times, the Police Chief of the City

          of Tampa and was, as such, the policy maker in charge of and responsible for

          the Defendant City’s regulation of vehicle towing within the city limits.

       6. Defendants Sergeant Kitt and Sergeant Penichet are supervisory officials with

          the City of Tampa Police Department, and the remaining named and unnamed

          officers are or were, at all material times, sworn police officers employed by

          the City of Tampa and subject to the supervision of Sergeants Kitt and

          Penichet and, ultimately, Chief Hogue.

       7. Defendant Laurie Woodham was, at all material times, Assistant City

          Attorney for Defendant City of Tampa.

                                      D. FACTS

       8. From about July of 2005 through July 9, 2007, the Defendants Sergeant

          Penichet and the named and unnamed officers conducted a campaign of




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          intimidation, and harassment, involving numerous unconstitutional and

          otherwise unlawful acts against the Plaintiff, as described in more detail in

          paragraph 12, in an effort to drive it out of its lawful business. Such actions,

          all of which were undertaken under color of state law, were motivated by

          arbitrary and malicious ill-will directed toward Plaintiff, and were such that a

          reasonable public official should know they were in violation of clearly-

          established law.

       9. During the relevant period, at least 282 official police reports were generated

          involving police activity undertaken against Plaintiff, its owners, agents and

          employees, involving at least 109 different police officers, over a period of 25

          months.

       10. During the preceding 20 months, by contrast, only 14 such reports had been

          generated regarding the Plaintiff.

       11. At all material times, Plaintiff operated its towing business and attendant

          activities in a lawful manner, and has been described by other City of Tampa

          officials as one of the City’s best outside service vendors.

       12. Nonetheless, examples of the harassment to which Plaintiff, its owners, agents

          and employees were subjected by Defendants include the following [reflecting

          names of individual Defendants involved and dates if presently known]:

              a. arresting Plaintiff’s co-owner, Ian McGeehan, without probable cause

                  for removing a trespasser from Plaintiff’s premises for threatening

                  Plaintiff’s employee;




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             b. directing Plaintiff’s employees, under threat of arrest, to release

                lawfully towed vehicles without charge to the owners and to persons

                lacking proof of ownership, in violation of Florida law;

             c. appearing at Plaintiff’s premises and falsely advising owners of towed

                vehicles that Plaintiff “steals cars” and charges excessive fees, and

                further advising them to bring legal actions against Plaintiff

                (Defendant Gudes);

             d. advising Plaintiff’s employees to leave their employment with Plaintiff

                and find different jobs (Defendant Gudes);

             e. appearing at the homes of Plaintiff’s employees and advising them

                they were subject to arrest for having dispatched tow trucks in

                response to lawful towing orders (Defendant Penichet);

             f. conducting roadside stops, without probable cause, of Plaintiff’s

                employees for “attitude checks”;

             g. threatening Plaintiff’s owners with arrest on extortion charges and

                other charges (Defendants Woodham [5/9/07] P. Lastra [8/16/06] and

                Penichet [5/9/06]) and threatening Plaintiff’s employees with arrest for

                refusing to release vehicles that had been lawfully towed (Defendants

                Moore, Riccardo [6/8/07], Gudes [early 2006 to present], Johnson

                [5/13/07]);

             h. telephoning the mother of Plaintiff’s employee and telling her that the

                employee’s continued work for Plaintiff would involve her in “more

                grand theft auto” and extortion by the Plaintiff;




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             i. unlawfully detaining and handcuffing Plaintiff’s employees at its place

                of business and imprisoning them in a police cruiser;

             j. kicking in the door of a residential quadplex near Plaintiff’s premises

                and announcing that they would arrest anyone inside who worked for

                Plaintiff;

             k. advising an applicant for employment with Plaintiff that he should not

                apply to work for Plaintiff;

             l. advising Plaintiff’s employees that Plaintiff was under investigation by

                the FBI and that the Plaintiff’s business was about to get “raided”;

             m. appearing at Plaintiff’s place of business and advising owners of towed

                vehicles that Plaintiff was a “fraud” and advising them not to pay to

                have their vehicles released;

             n. advising owners of towed vehicles to sue Plaintiff, as such suits would

                produce a “big return” and that Plaintiff’s business would be closed

                (Defendant Gudes);

             o. advising employees and owners of towed vehicles that the officers

                would see to it that Plaintiff was taken off the City’s towing rotation;

             p. refusing to remove unruly and threatening customers and trespassers

                from Plaintiff’s premises as requested by Plaintiff’s employees;

             q. threatening one of Plaintiff’s employees, who was driving one of

                Plaintiff’s tow trucks, with arrest for stealing a car; handcuffing the

                employee; and later releasing him after asking him to help the police

                “bring Pete down” (referring to the Plaintiff); and assuring the




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                  employee that if he cooperated in their effort to put Plaintiff out of

                  business they would “leave him alone”;

              r. threatening to arrest one of Plaintiff’s employees for refusing a Tampa

                  police detective access to Plaintiff’s property without a warrant; and

              s. diverting Plaintiff’s customers to other businesses owned by some

                  Defendant Officers or their associates.

       13. The foregoing actions were so persistent, widespread and pervasive that they

          constituted a custom or usage of the Defendant City and were such that the

          City’s policy-making officials knew or should have known that such actions

          were ongoing yet took no action to stop them.

       14. Indeed, Plaintiff repeatedly filed protests and complaints with the Defendant

          City and its Police Department regarding the actions alleged above, but no

          remedial action was taken. On the contrary, shortly after complaining about

          such conduct through the Police Department’s Internal Affairs Unit, Plaintiff

          was removed from the Police Department’s Towing Rotation on June 8, 2007,

          and from the Hillsborough County Sheriff’s Towing Rotation, in retaliation

          for having so complained.

       15. The actions described above reflect a conspiracy involving numerous

          members of the City of Tampa Police Department, including supervisors, and,

          on information and belief, may have involved higher ranking officials of the

          City.

       16. No other towing company operating in the City of Tampa has been subjected

          to the kind of harassment and intimidation alleged above.




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       17. Defendants have also caused Plaintiff to be subjected to further harassment by

          the City’s Code Enforcement officers through unjustified complaints and

          unlawful fines against Plaintiff.

       18. Plaintiff has suffered and continues to suffer substantial economic loss as a

          result of the Defendant City’s custom or usage of allowing the campaign of

          harassment and intimidating described above to be maintained indefinitely,

          and the Defendant City’s maintenance of such custom or practice is the legal

          cause of Plaintiff’s damages.

       19. Plaintiff demands a trial by jury as to all claims to which a jury trial is

          required.

       20. Plaintiff seeks to recover costs and attorney’s fees, pursuant to 42 U.S.C. §

          1988.

                                  FEDERAL CLAIMS

        COUNT I – SUBSTANTIVE DUE PROCESS AND CONSPIRACY

       21. The campaign of harassment and intimidation described above reflects the

          enforcement of state and local law in an arbitrary or discriminatory manner

          reflecting an intentional conspiracy consisting of acts which, taken together,

          shock the conscience and as to which the Defendant City’s responsible

          officials showed deliberate indifference, causing Plaintiff damage. As such,

          such conduct violates 42 U.S.C. §§ 1983 and 1985(3).

       COUNT II -- VIOLATION OF PLAINTIFF’S LIBERTY INTEREST

       22. The acts described above deprived Plaintiff of its liberty interest by subjecting

          it to accusations of criminal conduct in an ongoing effort to destroy its




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            business and prevent it from engaging in its lawful business activities in

            violation of 42 U.S.C. § 1983.

                        COUNT III – PROCEDURAL DUE PROCESS

        23. Defendant City deprived Plaintiff of its property interest in conducting a

            lawful business by endeavoring to destroy such business without providing

            Plaintiff any meaningful administrative or other opportunity to challenge and

            bring such actions to an end, in violation of 42 U.S.C. § 1983.



                         COUNT IV – EQUAL PROTECTION

        24. The acts described above deprived Plaintiff of the equal protection of the laws

            guaranteed by the Fourteenth Amendment to the United States Constitution by

            subjecting it to invidious discrimination for unknown reasons, thus

            discriminating against it as a “class of one,” in violation of 42 U.S.C. § 1983.

                 COUNT V – FIRST AMENDMENT RETALIATION

        25. Plaintiff’s complaints to the City’s responsible officials, as alleged in

            Paragraph 13, above, were protected by the First Amendment to the United

            States Constitution and the retaliatory actions of removing Plaintiff from the

            City and County towing rotations abridged such rights, in violation of 42

            U.S.C. § 1983.

        WHEREFORE, Plaintiff demands judgment for compensatory damages against

 all Defendants, punitive damages against those individual Defendants who participated

 in, authorized, encouraged, approved, or acquiesced in the unlawful acts alleged herein,




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 and further demands against all Defendants recovery of its costs of action and a

 reasonable attorney’s fee.



                                          /s/ Robert F. McKee
                                         MARK F. KELLY
                                         Florida Bar Number 216755
                                         mfk@kellyandmckee.com
                                         ROBERT F. McKEE
                                         Florida Bar Number 295132
                                         kmpa@kellyandmckee.com
                                         MELISSA C. MIHOK
                                         Florida Bar Number 555851
                                         mcm@kellyandmckee.com
                                         KELLY & McKEE, P.A.
                                         1718 E. 7th Ave., Suite 301 (33605)
                                         P.O. Box 75638
                                         Tampa, FL 33675-0638
                                         (813) 248-6400
                                         (813) 248-4020 (Facsimile)




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